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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    RACHEL CAROL FILSOOF,

4                     Plaintiff,                   New York, N.Y.

5                v.                                21 Civ. 1791 (NRB)

6    ANDREW J. COLE,

7                     Defendant.

8    ------------------------------x               Remote Conference

9                                                  April 6, 2021
                                                   11:00 a.m.
10
     Before:
11
                          HON. NAOMI REICE BUCHWALD,
12
                                                   District Judge
13

14
                                   APPEARANCES
15

16   THE BOSTANY LAW FIRM, PLLC
          Attorneys for Plaintiff
17   BY: JOHN P. BOSTANY
          SAMANTHA B. WELBORNE
18

19   ANDREW J. COLE
          Pro Se Defendant
20

21

22
     Also Present:
23   Rachel Carol Filsoof

24

25


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1              THE COURT:    Good morning.    It is Judge Buchwald

2    speaking.   Let's start by taking attendance.

3              Who is on the phone for the plaintiff?

4              MR. BOSTANY:    Good morning, Judge Buchwald.       It's John

5    Bostany, attorney for plaintiff, along with Samantha Welborne,

6    also attorney for the plaintiff, from my office.         And the

7    plaintiff herself, Rachel Carol Filsoof, is on the line as

8    well.

9              THE COURT:    Okay.

10             All right.    Mr. Cole, are you on the phone?

11             MR. COLE:    Yes, your Honor.

12             THE COURT:    Mr. Cole, do you have a lawyer with you?

13             MR. COLE:    No, I don't, your Honor.      I wanted to

14   request some time to find counsel.       I only learned about this

15   about a week ago when I returned back home, and I have been

16   trying to find counsel --

17             THE COURT:    Okay.

18             MR. COLE:    -- in New York.

19             THE COURT:    Okay.   Are you in California now?

20             MR. COLE:    Yes, your Honor.

21             THE COURT:    Okay.   Is there a court reporter on the

22   phone.

23             THE COURT REPORTER:     Good morning, Judge.     Kristen

24   Carannante.

25             THE COURT:    There is one -- if my math is right, we


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1    need to account for one other person.        Who else is on the

2    phone, please?

3              MS. GINIGER:    Hi, Judge.    This is Eve Giniger.       I'm a

4    court reporter just sitting in with Kristen to check my

5    equipment.   I'm sorry.

6              THE COURT:    Oh, okay.    Fine.   Thank you.   That's fine.

7    Of course.   The more the merrier.

8              MS. GINIGER:    Thank you.

9              THE COURT:    Okay.   Mr. Cole, let me just ask you a

10   couple of questions.

11             First, you had contact, I believe, communication with

12   Mr. Bostany.    Is that correct?

13             MR. COLE:    Yes, your Honor.

14             THE COURT:    And he has furnished to you the complaint

15   in this case and the earlier order that I signed setting up

16   this conference, is that correct?

17             MR. COLE:    Yes, sir.    I believe I got that on Friday.

18             THE COURT:    And did Mr. Bostany give you a copy of the

19   preliminary injunction document that he wants me to sign today?

20             Mr. Bostany, did you give Mr. Cole the proposed --

21             MR. BOSTANY:    Your Honor, I was directed by your

22   Honor's March 12 order to serve Mr. Cole with the language of

23   the order that was contained in the order to show cause as well

24   as all supporting documents and, as the docket entries show,

25   Samantha Welborne, my co-counsel that's on the phone, served


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1    Mr. Cole with both the form -- well, not the form order, but

2    the language of the form order, which is contained in the order

3    to show cause, as well as all supporting documents on March 18,

4    via e-mail, to a_j_cole@mac.com, which documents were also

5    delivered by hand to Mr. Cole's California physical address, in

6    Pacific Palisades, California, on Aloha Drive, and I wanted to

7    make sure that those both -- the e-mail address that he

8    confirmed to me, as well as the investigator, Mr. O'Sullivan,

9    is correct.

10             THE COURT:    Do you want to do that now?

11             MR. BOSTANY:    If it would be okay.

12             THE COURT:    It would be okay.

13             Mr. Cole, we just need to be able to reach you, and

14   that is not only for the benefit of the plaintiff, but it's for

15   your benefit as well, as well as my benefit, because I want --

16   and the Court's benefit, because I want to be sure that, with

17   and without a lawyer, you are kept fully informed of everything

18   that is going on, so you should know that nothing of any

19   significance goes on behind your back.        Okay?

20             MR. COLE:    Yes, your Honor.    I would really like to

21   get a lawyer, because I'm having trouble understanding a lot of

22   the language being used.

23             One thing I can say is that, when I went home the

24   other day to find the paperwork, there was no name or address

25   or anything written on a brown paper bag that was delivered to


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1    my current residence.

2              THE COURT:    Just to be clear, the name of the lawyer

3    and the lawyer's address was part of the papers, correct?

4              MR. COLE:    Yes, your Honor.

5              THE COURT:    Okay.   So just -- and I will try to speak

6    in simple English, but I don't think I have been using very

7    fancy words today.

8              MR. COLE:    No.

9              THE COURT:    But let me just ask you to tell me what is

10   your home address.

11             MR. COLE:    It is 27 Aloha Drive, Pacific Palisades,

12   California.

13             THE COURT:    Sounds nice.    And the zip code?

14             MR. COLE:    90272.

15             THE COURT:    Fine.   And your e-mail address is what?

16             MR. COLE:    A_j_cole@mac.com.

17             THE COURT:    Okay.   All right.    As I said, Mr. Cole, we

18   would, I think all be actually delighted if you found a lawyer

19   and that lawyer entered a notice of appearance.         Because,

20   frankly, it is more comfortable and easier for the Court and

21   Mr. Bostany to deal with a lawyer rather than directly with

22   you.   So --

23             MR. BOSTANY:    Your Honor, one more thing.      Mr. Cole

24   had requested sort of an extension of time to answer.          The time

25   to answer, according to the docket sheet, is upon us, and the


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1    summons and complaint was delivered to him while he was at the

2    First Police Precinct, in New York, as well as at his home, as

3    well as by e-mail, and he confirmed to me on April 2 that he

4    had the summons and complaint and was reading it to me, as I

5    mentioned in my letter.

6              But I have no objection to any extension that --

7    reasonable extension, obviously, that the Court would order.

8              THE COURT:    Okay.

9              Well, Mr. Cole, here is what I propose.        It would be

10   my intention to enter the preliminary injunction today, that

11   is, the order that -- and I will just, for the record, let me

12   read it to you.    It says:

13             "Ordered:

14             "That defendant, Andrew J. Cole, his agents, and all

15   persons in active concert, privity, and/or participation with

16   him, are hereby enjoined and restrained, pursuant to Federal

17   Rule of Civil Procedure 65, pending the final hearing and

18   determination of this action, from:

19             "1.   Contacting, following, surveilling, assaulting,

20   threatening, intimidating, stalking, harassing, keeping under

21   surveillance, or coming within 200 yards of the home or any

22   place of residence of plaintiff Rachel Carol Filsoof;

23             "2.   Interfering with plaintiff's prospective business

24   relations by making disparaging comments, remarks, or

25   statements concerning plaintiff, by phone, electronically, or


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1    in person, to any individual, entity, or association that

2    defendant knows, or becomes aware of, is a business contact of

3    the plaintiff and/or is likely to enter a business transaction

4    with the plaintiff."

5              The order further will provide for service upon you.

6              That is what you are enjoined -- "enjoined" means

7    prevented -- from doing.

8              If you violate the order, there are a variety of

9    consequences to you, the most serious of which would be that

10   you could be held in contempt of court.        Being held in contempt

11   of court, and if you are convicted of that contempt, can result

12   in your going to jail.

13             Now, you know and I know that you are under a court

14   order in California and a court order in New York to stay away

15   from Ms. Filsoof.     My wish -- any lawyer would tell you, don't

16   violate these orders for your own good.        The consequences to

17   you are potentially extremely serious.

18             So let us -- do you have any questions about the

19   meaning of the order that I just read to you?

20             MR. COLE:    No, your Honor.

21             THE COURT:    Okay.   Let us give you three weeks to find

22   a lawyer.   Let us extend your time to answer the complaint

23   until 30 days from today.

24             The order will be signed today and until it is -- I

25   change it, those are the rules of the game for you.


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1              Do you understand that?

2              MR. COLE:    Yes, your Honor.

3              THE COURT:    Okay.

4              So when you get a lawyer, make sure that he contacts

5    Mr. Bostany and also files a notice of appearance so that I can

6    know that he is on the scene; and if there is some issue,

7    continuing issue with your getting a lawyer, you need to let me

8    know.    Okay?

9              MR. COLE:    Yes, your Honor.

10             THE COURT:    All right.

11             Dylan, there is another question of the best way for

12   Mr. Cole, if he needs to contact us, to do so.          By the chambers

13   inbox?

14             THE LAW CLERK:    Yes.

15             So, Mr. Cole, the best way to be able to contact our

16   chambers, should you need to reach us, is an e-mail address.

17   If you have a pen, I can give it to you.        It is

18   BuchwaldNysdChambers@nysd.uscourts.gov.

19             MR. COLE:    Okay.

20             THE COURT:    Actually --

21             MR. COLE:    May I read that back to you so I can --

22             THE COURT:    Just one second.

23             Dylan, can we send Mr. Cole an e-mail from that

24   address or is it just an inbox?

25             THE LAW CLERK:    I can do that right now.


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1               MR. BOSTANY:   That's what I was going to suggest.

2               THE COURT:   We will do that Mr. Cole then you won't

3    have any question.

4               MR. COLE:    Okay.

5               MR. BOSTANY:   I also am right now sending Mr. Cole a

6    copy of your Honor's individual practice rules, if that's okay.

7               THE COURT:   That's okay.

8               MR. BOSTANY:   Okay.    Sent.

9               Judge, I had one more matter.

10              THE COURT:   Sure.

11              MR. BOSTANY:   I had requested a date for a Rule 26(f)

12   conference with Mr. Cole.       Considering that it is possible that

13   he will be pro se, we don't know right now, he has got three

14   weeks now to retain counsel, I would not obviously be pressing

15   that that date be before the three weeks expires, but if we can

16   get some date maybe in May that it will be held with or without

17   his attorney, that would be helpful.

18              THE COURT:   Why don't we wait and let him get a

19   lawyer.    I think he understands -- I hope he does -- that,

20   given the combination of this civil issue, civil case and his

21   criminal matters, that it's really important that he have

22   counsel.

23              MR. BOSTANY:   Yes, Judge.

24              THE COURT:   So I assume that he is really going to get

25   a lawyer.


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1               MR. BOSTANY:   Understood, Judge.

2               THE COURT:   And once he does, it's going to be a lot

3    easier for you, Mr. Bostany, and for me to move this case

4    forward.    I think you have been in front of me before -- and,

5    Mr. Cole, I should say, we are not friends, but I have been on

6    the bench for a very long time, so Mr. Bostany has appeared in

7    front of me.    I think it is well known I am very attentive to

8    my cases.

9               MR. BOSTANY:   Yes.    It is well known in the

10   courthouse.

11              THE COURT:   Right.    So I'm not going to forget this.

12   So don't worry about that.       We have our own tickler systems,

13   and I can assure you that there is going to be a tickler for

14   three weeks from today.      And if there is no -- you know, no

15   lawyer has filed an appearance, we will take appropriate steps

16   at that point.    Okay?

17              MR. BOSTANY:   Very good, Judge.        Yes.

18              THE COURT:   All right.        Mr. Cole, behave yourself and

19   get a lawyer, okay?

20              MR. COLE:    Yes, sir.    Yes, your Honor.       Thank you.

21              THE COURT:   Very good.        Thank you.    Bye.

22              MR. BOSTANY:   Goodbye, everybody.          Thank you.

23                                       oOo

24

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